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 7
                               UNITED STATES DISTRICT COURT
 8
                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
 9

10
     UNITED STATES OF AMERICA,                  Case No. 5:18 Cr. 258 (EJD)
11
                 Plaintiff,                     ADAM ROSENDORFF’S MOTION TO
12                                              QUASH SUBPOENA DUCES TECUM
          vs.                                   ISSUED BY DEFENDANT ELIZABETH
13                                              HOLMES
   ELIZABETH HOLMES and
14 RAMESH “SUNNY” BALWANI,                      Date:    October 31, 2022
                                                Time:    1:30 p.m.
15               Defendants.
                                                The Hon. Edward J. Davila
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 1                                     MOTION TO QUASH

 2         PLEASE TAKE NOTICE that on October 31, 2022, at 1:30 p.m., or on such other date and

 3 time as the Court may order, in Courtroom 4 of the Robert F. Peckham Federal Building and United

 4 States Courthouse, 280 South 1st Street, San Jose, CA 95113, before the Honorable Edward J.

 5 Davila, Non-Party Adam Rosendorff will move the Court for an order quashing the subpoena duces

 6 tecum served on him by Defendant Elizabeth Holmes. Dr. Rosendorff makes this motion pursuant

 7 to Rule 17 of the Federal Rules of Criminal Procedure. The Motion is based on the accompanying

 8 memorandum of law, the record in this case, and any other matters that the Court may deem

 9 appropriate.

10

11 DATED:      October 12, 2022                  Respectfully submitted,

12                                               QUINN EMANUEL URQUHART &
                                                 SULLIVAN, LLP
13

14
                                                  /s/ Daniel R. Koffmann
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 1          Non-Party Adam Rosendorff respectfully submits this memorandum of law in support of his

 2 motion to quash the subpoena duces tecum issued to him by Defendant Elizabeth Holmes.

 3                                    PRELIMINARY STATEMENT

 4          The Court should quash the subpoena duces tecum that Defendant Elizabeth Holmes issued

 5 to Non-Party Adam Rosendorff because it is outside the narrow scope that the Court set for the

 6 October 17, 2022 hearing, it does not satisfy the Nixon standard, and it is unreasonable and

 7 oppressive. The purpose of the October 17 hearing, as described by the Court, is to ask Dr.

 8 Rosendorff, “Did you tell the truth” at Ms. Holmes’ trial, or “Do you feel that the government

 9 manipulated you … in any way in regards to [your] testimony.” Hr’g Tr. 33 (Oct. 3, 2022). As the

10 Court has explained, it “[does not] believe” the October 17 hearing “will be a lengthy process,”

11 because the hearing effectively is “an opportunity” for Dr. Rosendorff “to reaffirm” what he said in

12 his September 15, 2022 declaration, “or to explain why he parts company with that.” Id. at 33–34.

13          To be clear, Dr. Rosendorff testified “completely, accurately, and truthfully to the best of

14 [his] ability” at the trials in this case. Declaration of Adam Rosendorff ¶ 3 (Sept. 15, 2022) (Dkt.

15 No. 1587-1). He “stand[s] by” that testimony. Id. And he “ha[s] no reason to believe that the

16 government misrepresented or otherwise created a misimpression about Ms. Holmes’ or Mr.

17 Balwani’s conduct at Theranos.” Id. ¶ 4. The Defendant’s attempt to construe Dr. Rosendorff’s

18 attempt to speak with her as a cry for help about government misconduct, or a desire to recant his

19 trial testimony, is off-base. On the contrary, as Dr. Rosendorff will testify at the October 17 hearing,

20 his visit to the Defendant’s house was part of an effort to forgive her for the pain and suffering her

21 actions have caused in his life, to address his own complicated feelings about having played a role

22 in the mother of a young child potentially going to prison, and generally to achieve closure of a

23 difficult period in his life. There is no legitimate basis for the Defendant’s insinuation that Dr.

24 Rosendorff believes the government manipulated him or that there is reason to doubt the credibility

25 of his testimony.

26          Notwithstanding the parameters the Court articulated for the October 17 hearing, the

27 Defendant has sought to transform that limited inquiry into a free-for-all in which Dr. Rosendorff

28 would be required to search through more than a year’s worth of sensitive emails, text messages,
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 1 and other communications with family, friends, and others so that the Defendant can try, yet again,

 2 to make him look like a liar. The Court did not authorize such discovery when it set the hearing for

 3 October 17. Nor would the kind of fishing expedition reflected in the subpoena be a proper use of

 4 Rule 17 in any case.       The documents the Defendant seeks—non-privileged communications

 5 regarding Dr. Rosendorff’s trial testimony and his interactions with the prosecution team—are

 6 hearsay. Their only relevance or basis of admissibility would be as potential prior inconsistent

 7 statements used to impeach Dr. Rosendorff’s testimony at the hearing. But Rule 17 does not

 8 authorize a search for impeachment materials. So even if the Court had authorized or envisioned

 9 that the Defendant would fire off subpoenas in advance of the October 17 hearing, Rule 17 still

10 would not permit the discovery she seeks from Dr. Rosendorff.

11          Dr. Rosendorff has been through enough. He was bullied, intimidated, and harassed by

12 Theranos senior executives and lawyers working on the company’s behalf. His professional

13 reputation has been tainted by his association with Theranos, a company known best as a spectacular

14 fraud. He has been forced to spend weeks in deposition and trial testimony, including the

15 Defendant’s own high-profile trial in which her counsel grilled him for days and left nearly no stone

16 in his life unturned. And now, after Dr. Rosendorff’s hopeful, albeit naïve, effort to speak with the

17 Defendant, she seeks to invade his privacy with an unauthorized, improper, unreasonable subpoena.

18 The Court should not indulge these tactics by the Defendant. The Court should quash the subpoena.

19                                           BACKGROUND

20          A.     Dr. Rosendorff’s Employment At Theranos And Early Whistleblowing
21          Dr. Rosendorff worked at Theranos from April 2013 to November 2014, principally as the
22 director of the company’s CLIA-certified laboratory. See generally Holmes Trial Tr. 1702–03. He

23 ultimately left Theranos due to his persistent concerns about the quality of the Theranos assays and

24 the lack of support he received from Ms. Holmes and Mr. Balwani in attempting to remedy the

25 problems he reported to them. See generally Holmes Trial Tr. 1939–60; 2733 (“I felt that it was a

26 question of my integrity as a physician not to remain there and to continue to endors[e] results that

27 I essentially didn’t have faith in. I came to understand that management was not sincere in diverting

28 resources to solve issues.”). Shortly after he left the company, Dr. Rosendorff began providing
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 1 information to John Carreyrou, then a reporter for the Wall Street Journal and one of the first

 2 journalists to expose the Defendant’s misconduct at Theranos. Holmes Trial Tr. 1959; John

 3 Carreyrou (@JohnCarreyrou) (Sept. 28, 2021, 3:50 p.m.), https://twitter.com/JohnCarreyrou/status/

 4 1442985133313830914 (“Adam [Rosendorff] was my first and most important source. Without

 5 him, I wouldn’t have been able to break the Theranos story. Hats off to his courage and integrity.

 6 He’s one of the real heroes of this story.”). He also explored filing a complaint against Theranos

 7 under the False Claims Act, Holmes Trial Tr. 2851–52, but was unable to do so because, contrary

 8 to the company’s representations to investors, Theranos did very little, if any, business with the

 9 federal government. Theranos then began an intimidation campaign against Dr. Rosendorff that

10 involved, for example, threatening to sue him and to foment investigations into his conduct while at

11 Theranos. See generally John Carreyrou, Bad Blood 217–18, 221, 225, 227, 256, 266 (1st ed. 2019).

12          B.      Dr. Rosendorff’s Consistent Testimony During Multiple Depositions And The
                    Trials In This Case
13

14          Dr. Rosendorff became a witness in numerous legal proceedings relating to Theranos. He

15 was subpoenaed in March 2017 in connection with litigation in Delaware Chancery Court; he was

16 deposed in January 2018 and February 2019 in two separate securities class action litigations; he

17 testified in an SEC proceeding; he testified before the grand jury in this case in 2018; and he testified

18 at the trial of Ms. Holmes for approximately six days and at the trial of Mr. Balwani for

19 approximately two-and-a-half days. He also spoke with government prosecutors and investigators

20 in 2016, 2017, 2018, 2020, 2021, and 2022, fully aware that it would be a crime if he knowingly

21 made a false statement during those meetings.

22          Through the weeks that he spent testifying at trial and in depositions and speaking to the

23 government, the crux of his story never changed: Shortly after joining Theranos, he became

24 uncomfortable with the accuracy and reliability of the company’s assays. He alerted Ms. Holmes,

25 Mr. Balwani, and others at the company about the problems he had observed and sought to conduct

26 further research into the assays to establish that they were safe for patient use. But Ms. Holmes,

27 Mr. Balwani, and others undermined and thwarted those efforts. Ultimately, he felt compelled to

28 leave Theranos because continuing to work at the company was inconsistent with his ethics and
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 1 threatened to taint his professional reputation. Over the course of more than five days of grueling

 2 cross-examination by skilled defense counsel for Ms. Holmes and Mr. Balwani, Dr. Rosendorff

 3 never wavered on these essential elements.

 4          C.     Dr. Rosendorff’s Visit To The Defendant’s Home

 5          As Dr. Rosendorff can testify at the hearing on October 17, he spent the afternoon of August

 6 8, 2022 in Palo Alto. While there, he decided to visit the address on California Avenue where

 7 Theranos once had its headquarters and the Walgreens on University Avenue where Theranos

 8 conducted its commercial launch. California Avenue was unrecognizable. The Theranos building

 9 had been torn down and a residential development complex built in its place. The Walgreens was

10 gone too, replaced by a rug store. Dr. Rosendorff wanted to move on too. He suddenly felt that a

11 conversation with the Defendant was the missing piece. He wanted to be able to forgive her for the

12 pain and suffering her actions have caused in his life. He wanted to be able to express his

13 condolences that her child may grow up without a mother if the Defendant receives a lengthy prison

14 sentence. And he wanted to be able to draw a line under the nine-year saga of his employment at

15 Theranos, the harassment and intimidation directed at him after he left, his participation in the

16 subsequent investigation, and his high-profile testimony in the trials in this case. He called the

17 Defendant’s counsel and left a voicemail in which he asked if counsel could assist in arranging for

18 a meeting with the Defendant, which he believed “would be quite healing.” Declaration of Lance

19 Wade ¶ 5 (Sept. 6, 2022) (Dkt. No. 1574-3).

20          Caught up in the moment, and feeling like he had nothing to lose, Dr. Rosendorff decided to

21 drive to the Defendant’s home to knock on her door and see if he could speak with her. Media

22 coverage during her trial reported that she lived on a well-known private estate in Woodside, a short

23 distance from Palo Alto. He drove to the estate, was directed to her house, and approached the front

24 door. He had two brief conversations with William Evans, the Defendant’s partner. Mr. Evans has

25 claimed that Dr. Rosendorff said, among other things, that “he feels guilty,” “that the prosecutors

26 tried to make everybody look bad (in the company),” “that the government made things sound worse

27 than they were,” and that “he felt like he had done something wrong.” Dkt. No. 1574-2. As Dr.

28 Rosendorff can testify at the hearing, he does not recall making these statements, and they do not
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 1 accurately describe how he felt on August 8 or how he feels today. Nevertheless, after his brief

 2 encounter with Mr. Evans, Dr. Rosendorff drove home and has not sought to contact the Defendant

 3 since then.

 4          D.      The Defendant’s Motion And Dr. Rosendorff’s Subsequent Declaration

 5          Nearly a month after Dr. Rosendorff’s visit, the Defendant cited to Mr. Evans’ account of

 6 his encounter with Dr. Rosendorff as supposed basis for a new trial or an evidentiary hearing. Dkt.

 7 No. 1574. In her motion, the Defendant sought an evidentiary hearing “both to determine the

 8 meaning of Dr. Rosendorff’s statements and to determine whether any misconduct occurred.” Id.

 9 at 11. The motion argued that Dr. Rosendorff’s alleged statements to Mr. Evans “suggest that the

10 government’s presentation of evidence may have misled the jury” and “that there is strong reason

11 to doubt the credibility of a key government witness.” Id. The Defendant contended she was entitled

12 to a hearing “unless the court is able to determine without a hearing that the allegations are without

13 credibility or that the allegations if true would not warrant a new trial.” Id. (quoting United States

14 v. Navarro-Garcia, 926 F.2d 818, 822 (9th Cir. 1991)).

15          Dr. Rosendorff was surprised to learn of the Defendant’s motion and Mr. Evans’ account of

16 their interaction on August 8. His recollection of his conversation with Mr. Evans did not align with

17 Mr. Evans’ description—both with respect to the alleged statements noted above and regarding other

18 aspects of Mr. Evans’ account. But rather than identify every inconsistency between his recollection

19 and Mr. Evans’, Dr. Rosendorff instead sought to address the issues the Defendant argued should

20 be explored at a hearing: whether his statements “suggest that [1] the government’s presentation of

21 evidence may have misled the jury … [and] [2] that there is strong reason to doubt the credibility of

22 a key government witness.” Dkt. No. 1574 at 11.

23          In his September 15, 2022 declaration, Dr. Rosendorff rebutted these insinuations as directly

24 and explicitly as he could. As to the first issue, Dr. Rosendorff testified:

25                  I have no reason to believe that the government misrepresented or
                    otherwise created a misimpression about Ms. Holmes’ or Mr.
26                  Balwani’s conduct at Theranos.

27 Rosendorff Decl. ¶ 4 (Dkt. No. 1587-1). As to the second issue, Dr. Rosendorff testified:

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 1                     During my testimony at Ms. Holmes’ and Mr. Balwani’s trials, I
                       answered every question put to me completely, accurately, and
 2                     truthfully to the best of my ability. Nothing I have learned since
                       giving my testimony has changed my recollection of the events I
 3                     witnessed during my time at Theranos. I stand by my testimony at
                       Ms. Holmes’ and Mr. Balwani’s trials in every respect.
 4
     Id. ¶ 3.
 5
                E.     The Court’s Order That Dr. Rosendorff Testify At A Hearing
 6
                Notwithstanding Dr. Rosendorff’s testimony in his declaration, the Court granted the
 7
     Defendant’s request, in part. See Dkt. No. 1593. The Court set a hearing “[l]imited solely to the
 8
     issues related to the possibility that the Government may have engaged in misconduct and related
 9
     to the declaration of Dr. Rosendorff.” Id. As the Court stated at the status conference, “the issues
10
     are limited” to what Dr. Rosendorff meant in his declaration and whether “[he] feel[s] that the
11
     government manipulated [him] … in any way in regards to [his] testimony.” Hr’g Tr. 33 (Oct. 3,
12
     2022). At bottom, “really what [the Court] want[s] to know [from Dr. Rosendorff] is did [he] tell
13
     the truth?” Id. Acknowledging Dr. Rosendorff’s declaration in which he spoke to that question, the
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     Court explained that “perhaps this will either be an opportunity to reaffirm that or to explain why
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     he parts company with that,” and due to that limited scope, the Court expressed that it “[does not]
16
     believe that this will be a lengthy process.” Id. 33–34. At no point during the status conference, in
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     the subsequent minute order, nor (as far as Dr. Rosendorff is aware) at any point since then, did the
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     Court authorize the Defendant to engage in third-party document discovery in connection with the
19
     hearing.
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                F.     The Defendant’s Subpoena Duces Tecum To Dr. Rosendorff
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                On October 6, 2022, Dr. Rosendorff, through counsel, accepted service of a subpoena from
22
     the Defendant. See Declaration of Daniel R. Koffmann ¶ 2 (Oct. 12, 2022). Rather than simply
23
     seeking Dr. Rosendorff’s presence at the hearing so that he could provide testimony, the subpoena
24
     also sought two broad categories of documents:
25
                       1. Non-privileged emails or communications regarding your trial
26                     testimony from September 24, 2021 to present.

27                     2.   Non-privileged emails or communications regarding the
                       prosecution team (including its agents) and its work on, or
28
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 1                  interactions with you, in this matter, from September 24, 2021 to
                    present.
 2
     Koffmann Decl., Exhibit 1.
 3
                                           LEGAL STANDARD
 4
             Rule 17 of the Federal Rules of Criminal Procedure enables a party to compel production of
 5
     a document only where the party can establish relevancy, admissibility, and specificity. United
 6
     States v. Nixon, 418 U.S. 683, 700 (1974); United States v. Reed, 726 F.2d 570, 577 (9th Cir. 1984)
 7
     (applying Nixon standard and affirming order quashing Rule 17 subpoena duces tecum).1 District
 8
     courts apply the Nixon standard even after a verdict, taking into account the posture of the case and
 9
     the intended use of the subpoenaed records. See, e.g., United States v. Krane, 625 F.3d 568, 574
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     (9th Cir. 2010) (observing that a Rule 17 subpoena could be used for purposes of a sentencing
11
     proceeding but that “the trial court must apply the Nixon factors in the specific context of
12
     sentencing”). At every stage of a criminal case, Rule 17 is not “a discovery device,” and it does not
13
     “allow a blind fishing expedition seeking unknown evidence.” Reed, 726 F.2d at 577. “The
14
     discovery tools available to defendants in criminal cases are limited, and are to be found elsewhere
15
     in the Federal Rules of Criminal Procedure, not in Rule 17.”           United States v. Rodriguez,
16
     No. 2:11 Cr. 296 (WBS), 2016 WL 6440323, at *1 (E.D. Cal. Oct. 28, 2016). In particular, Rule 17
17
     cannot be used to obtain impeachment materials. See, e.g., United States v. Fields, 663 F.2d 880,
18
     881 (9th Cir. 1981) (reversing denial of motion to quash where subpoena sought materials to be
19
     used for impeachment); United States v. Pac. Gas & Elec. Co., No. 14 Cir. 175 (TEH), 2016 WL
20
     1212091, at *6 (N.D. Cal. Mar. 28, 2016) (“In the Ninth Circuit, where the defendant’s only purpose
21
     for seeking the Rule 17(c) subpoena is to obtain impeachment materials, such a justification is
22
     insufficient to require pretrial production of such materials.”); accord Nixon, 418 U.S. at 701. Rule
23
     17 also provides that the Court may quash a subpoena duces tecum where it is otherwise
24
     “unreasonable or oppressive.” Fed. R. Crim. P. 17(c)(2). A decision quashing a Rule 17 subpoena
25
     is reviewed for abuse of discretion. Nixon, 418 U.S. 683 at 702.
26

27   1
     Unless otherwise indicated, this brief omits from quotations and citations all internal quotation
28 marks, alterations, footnotes, and citations.
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 1                                              ARGUMENT

 2 I.       THE SUBPOENA EXCEEDS THE LIMITED SCOPE THE COURT SET FOR THE
            OCTOBER 17 HEARING.
 3

 4          The Court should quash the subpoena because it would be an unwarranted expansion of the

 5 scope of the October 17 hearing. In partially granting the Defendant’s request for a hearing, the

 6 Court clearly articulated the scope of the inquiry: it “will either be an opportunity [for Dr.

 7 Rosendorff] to reaffirm [his declaration] or to explain why he parts company with [it].” Hr’g Tr. 33

 8 (Oct. 3, 2022). The Court reiterated that in its minute entry: “The Court set a limited Evidentiary

 9 Hearing on ECF No. 1574 – Motion for New Trial – for October 17, 2022. Limited solely to the

10 issues related to the possibility that the Government may have engaged in misconduct and related

11 to the declaration of Dr. Rosendorff.” Dkt. No. 1593. Neither the Court’s order at the status

12 conference nor the subsequent minute entry authorized the Defendant to issue a subpoena duces

13 tecum requiring Dr. Rosendorff or any other witness to produce documents in connection with the

14 hearing.

15          Nor would the fishing expedition inherent in the Defendant’s subpoena be consistent with

16 the purpose of the post-trial hearing the Court set for October 17. Where a trial witness makes

17 unsworn, out-of-court statements after a verdict that suggest a possible recantation of his trial

18 testimony, as Mr. Evans alleged Dr. Rosendorff did on August 8, a subsequent sworn declaration in

19 which the witness reaffirms his testimony is sufficient to defeat a new-trial motion. See, e.g., United

20 States v. Lespier, 266 F. App’x 5, 7 (2d Cir. 2008) (summary order) (“[A] district court should give

21 little evidentiary weight to a recantation affidavit that has since been repudiated.”); Lindsey v. United

22 States, 368 F.2d 633, 635–36 (9th Cir. 1966). Here, notwithstanding Dr. Rosendorff’s declaration

23 reaffirming his trial testimony, the Court ordered a hearing “limited to his declaration” and “what

24 [he meant]” in it and whether he “feel[s] that the government manipulated [him] … in any way in

25 regards to [his] testimony.” Hr’g Tr. 33 (Oct. 3, 2022). If Dr. Rosendorff reaffirms his declaration,

26 the hearing “will [not] be a lengthy process.” Id. at 34. A broad subpoena duces tecum like the one

27 the Defendant is seeking would turn a limited inquiry regarding a one-page declaration into a post-

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 1 trial mini-trial. The Court should reject these efforts and adhere to the scope it articulated when it

 2 granted the October 17 hearing.

 3 II.      THE SUBPOENA DOES NOT SATISFY THE NIXON STANDARD.

 4          Even if the Court had authorized written discovery, the subpoena’s broad requests are

 5 improper because they do not seek admissible or specific materials, as required under long-standing

 6 authority.    See Nixon, 418 U.S. 683 at 700 (Rule 17 subpoena “must clear three hurdles:

 7 (1) relevancy; (2) admissibility; (3) specificity”); Krane, 625 F.3d at 574 (district court should apply

 8 Nixon factors “in the specific context” in which post-trial subpoena is issued).              Potential

 9 impeachment evidence does not suffice to meet Nixon’s admissibility requirement. Fields, 663 F.2d

10 at 881; PG&E, 2016 WL 1212091, at *6. Here, the whole point of the Defendant’s subpoena is to

11 seek impeachment materials. Dr. Rosendorff already reaffirmed his trial testimony. Rosendorff

12 Decl. ¶¶ 3–4. The hearing on October 17 is limited to whether he will re-reaffirm that testimony or,

13 instead, will divulge that the government somehow manipulated him or otherwise engaged in

14 misconduct. Hr’g Tr. 33–34 (Oct. 3, 2022); Dkt. No. 1593. In seeking Dr. Rosendorff’s private

15 communications about his trial testimony and his interactions with the government, the Defendant

16 is fishing for statements by Dr. Rosendorff that are inconsistent with his September 15, 2022

17 declaration, which the Defendant would then seek to use to impeach that testimony and undermine

18 Dr. Rosendorff’s credibility. That is textbook impeachment material. Any other likely use of such

19 communications would amount to an impermissible attempt to offer an out-of-court statement to

20 prove the truth of the matter asserted. Fed. R. Evid. 802. That is not a proper use of Rule 17 either.

21 See, e.g., United States v. Huiltron Sanchez, No. S2 05 Cr. 443 (WBS), 2007 WL 9606812, at *2

22 (E.D. Cal. Jan. 10, 2007) (denying Rule 17 subpoena where there was “feint showing that the

23 requested documents would be admissible” and nearly all the requested information “would clearly

24 appear to be hearsay”). Because the subpoena seeks documents that are likely to be admissible only

25 as impeachment materials, the Defendant cannot show that her subpoena satisfies the admissibility

26 standard under Nixon.

27          Nor does the subpoena comply with Nixon’s specificity requirement. The Defendant’s

28 document request is akin to a third-party subpoena issued under Rule 45 of the Federal Rules of
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 1 Civil Procedure. Rule 17 of the Federal Rules of Criminal Procedure, by contrast, is not “a discovery

 2 device.” Reed, 726 F.2d at 577. Whatever the wisdom of affording civil defendants vastly greater

 3 discovery than criminal defendants, until Congress or the Supreme Court amends the Federal Rules

 4 of Criminal Procedure, it remains the law that criminal defendants’ discovery tools “are to be found

 5 elsewhere in the Federal Rules of Criminal Procedure, not in Rule 17.” Rodriguez, 2016 WL

 6 6440323, at *1. A subpoena like the Defendant’s that requires the recipient to sift through countless

 7 messages in his email archives, text message and other messaging applications, and direct message

 8 histories on social media and other applications, is the quintessential fishing expedition that fails the

 9 Nixon specificity requirement. See, e.g., United States v. Aguilar, No. 07 Cr. 30 (SBA), 2008 WL

10 3182029, at *7 (N.D. Cal. Aug. 4, 2008) (“The less specific a subpoena, the greater the likelihood

11 defendant is engaged in a fishing expedition or using their subpoena for discovery purposes.”);

12 United States v. W. Titanium, Inc., No. 08 Cr. 4229 (JLS), 2010 WL 4569890, at *2 (S.D. Cal. Nov.

13 4, 2010) (“If the moving party cannot reasonably specify the information contained or believed to

14 be contained in the documents sought but merely hopes that something useful will turn up, this is a

15 sure sign that the subpoena is being misused.”).

16          The Court should quash the subpoena because the Defendant cannot demonstrate that her

17 subpoena complies with the Nixon standard in “the specific context” of the limited purpose and

18 narrow scope the Court set for the October 17 hearing. Krane, 625 F.3d at 574.

19 III.     THE SUBPOENA IS UNREASONABLE AND OPPRESSIVE.

20          The subpoena should be quashed for the additional reasons that it is unduly burdensome and

21 invasive and it provides insufficient time for Dr. Rosendorff to respond. Rule 17 authorizes the

22 Court to quash a subpoena that is “unreasonable or oppressive,” Fed. R. Crim. P. 17(c)(2), and this

23 Court’s Local Rule 17-2(d) requires that a Rule 17 subpoena duces tecum provide the recipient at

24 least 14 days to respond, absent a demonstration of good cause, United States District Court for the

25 Northern District of California Criminal Local Rule 17-2(d). In the year since Dr. Rosendorff took

26 the stand at the Defendant’s trial, he has received countless messages via SMS and other messaging

27 applications, social media, email, and other media from friends, family, acquaintances, and even

28 strangers who have read about his testimony in the news. Requiring him to sift through gigabytes
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 1 of data scattered across numerous technological platforms to identify materials responsive to the

 2 Defendant’s broad document requests is unduly burdensome and inappropriate under Rule 17. See,

 3 e.g., United States v. Ganesh, No. 16 Cr. 211 (LHK), 2018 WL 9732209, at *1 (N.D. Cal. June 20,

 4 2018) (denying issuance of Rule 17 subpoenas seeking information across databases and other

 5 platforms because responding would be “unreasonable and oppressive”); PG&E, 2016 WL

 6 3350326, at *3 (quashing Rule 17 subpoenas seeking documents that would require tens of hours to

 7 collect).

 8          The Defendant’s proposed intrusion into Dr. Rosendorff’s personal and private

 9 communications is equally unreasonable and oppressive. Testifying at the trials in this case was an

10 unpleasant coda to the distressing chapter in Dr. Rosendorff’s life in which he worked at a company

11 that turned out to be a fraud, that harassed and intimidated him after he quit, and that has brought

12 unwanted media attention to him for years. There is no good reason why Dr. Rosendorff’s private

13 communications about that experience should be put on display, particularly where, as here, the

14 Defendant cannot identify any legitimate evidentiary value of those communications for purposes

15 of the October 17 hearing.

16          Finally, the subpoena violates the presumption in this Court that the recipient have at least

17 14 days to respond. See United States District Court for the Northern District of California Criminal

18 Local Rule 17-2(d). The Defendant served the subpoena on the afternoon of October 6, 2022 and

19 set the deadline for production on October 17, 2022, at 9 a.m. See Koffmann Decl. ¶ 2 & Exhibit 1.

20 Given the breadth of the subpoena and the universe of documents Dr. Rosendorff must search

21 through in order to identify responsive materials, the Defendant’s proposal that he undertake this

22 exercise in shorter than two weeks is unreasonable and oppressive.

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 1                                       CONCLUSION

 2        For the foregoing reasons, the Court should quash Defendant Elizabeth Holmes’ subpoena

 3 duces tecum to Non-Party Adam Rosendorff.

 4 DATED:     October 12, 2022                 Respectfully submitted,

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